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CLEVELAND MUNICIPAL COURT
HOUSING DIVISION. CRIMINAL,
CUYAHOGA COUNTY, O110
JUDGE W. MONA SCOTT

CITY OF CLEVELAND
Platntlitts)

DATE: JUNE 27, 2023

VE. 7022-CRBAKIGEL

ST. ANTHONY CHURCH SENTENCING JUNE 28,2023
Deterulant(s} PGOMENT ENTRY AND 2

This mater come befor the Court for a virtual Change of Plea Heating on March 29,2023,
jJouralized April 3, 2023, Tresent weee the following patties: Defendant St. Anthony Church.
hereinafter Defendam. Defendant Itepresentative Albert Thrower, Defense Attomey Witton
Sheehan. and the City of Cleveland Prosecutor Astley Hankins, Detendant entered o plea of no
contest fa five (5) counts of Faélure to Comply (Cleveland Coditied Ordinance 2033.03). ail
misdemeanors in the flet degiet. Based on the plea uf ao contest to the five (5) counts, eighteen
CEB) counts were nolled at the (posceutor’s cequest, Aner die Prosecutor's proNer evitence and
based on the Defendant's ¢o-cantest plea. the Court foind Defendant guilty af each of the dive (5)
counts of the ornlly amended Complaint, dated August £2, 2021. through August 16, 2021.

WHEREAS, On June 21, 2023, the following parties appeared for the virtual
Sratencing Hearingt Mefendent, Defendant Hepresentatlve Albert Thrower, Defense
Attorney Wlillans Sheehan, Couneliweman Jenny Spencer Ware 15 Representative eather
Lazar, ihe Cliy of Clovefand Proacentor Ashiey Hankins, and Mouring Court Speetatisa
Heverly Cody. During the hearing, Housing Court Speciallad Cody read the repart an record
regariing the cltcd property tocated at (310 Weal 49" Stecet, Cleveland, lita -H1102, Letters
of concern for the property located at 1340 West B9" Sirect, Clevetand, Ohle 44602 were
presented from the following: NIKKI Hudson, Chair of the Fitgewaler Parke Nelghbors,
Communtiy Member Gregory Clistik, and City of Cleveland Department of Uuilding nnd
Jiousing Jaspector Rhonda Derrcit.

I. PLEA TO CHARGES-POTENTIAL PENALTIES:

{ count T ORDINANCE [LEVEL ] DATE
i t 203.03 haku loComply tA ga
2 203.03 Taflure to Comply * BY UA021
3 203.03 Failure to Comply M Sano
4 203.01 Feiluce to Comply Mil RI15/2021
4s 203.03 Failure to Comply AM! Bile72024 |
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hersentie
an, -~

#3, Defendant Is urdered to wttow eo inipeciar fron: City of Cleveland, Depariment of
Hultding aud Housing to do an fntedor an exterior Bispeetion of the praperiles,
including We ganege or shed, located af 1318-6512 Weed #94 Sircer, Cleveland, Chis
44102, pedo to the next hearing,

12, Defendand is ordered cluse out all upen violations with an inspector from the City of
Cleveland, Beparimen) of Duiling and Housing. [VIOLATION NOTICES:
18032279, Vi3019045, V13G19033, 929019387 and 21019174, ATTACHED]

IX, Defendant is ordered in etean sitof the properiics if owns within the City of Cleveland
and keep them free from wil fuek, debris, and dumping, [SEE ATTACIERD LEST}

14, Defendant b ordered fo cul aff grass and remove any shrubliery ar overgrowth of
shrubbery from any of the properties ov ned witttn the City of Ctrvetaad white
awalting thesale of propertics, [SEE ATTACHED LIST}

15, Defendant ds ordeeed lo pay the outstanding property lases on (he propertics (towns
within the City of Clevelunil and provide pronfal nx payaient plan, tay payertats, or
tecelpts fo Howsing Causd Spectallst Cody, [SEE ATTACIIED LIST]

£6, Defendant is entered to submit a matntenance und repair plan to Housing Spectullst
Cody every MW days, on (he FP of cach ovonth, for all propertics ow ned whtin the Clee
of Cleveland to provite this Coget with repair plaas, detatting the numes and
information for contractors hired, when properties will be inspected, aad indicate
when the pryund keeping will be campicted. [SEE ATTACHED LIST]

17, This JE & Order remains subject to mudifieatiuns upon dhe conctaston of fespector
Tthoada Derreti, City of Clovelan, Department of Building and Housing ubating all
oper violaiiony, (VIOLATION NOTICES: ¥(8032279, VIJUISHIS, VIJOI9D33,
¥24009I387 and VIIN(91 4, ATTACHED

18, Defendant ts ordered (on rematn fn communication and provide al required
doraments aed tafarmiatton thovcdy ta Hoyslng Court Spretalist Beverly Cody while
ander this Court's sopendston,

Defendant is ardered to appearin Couel virtually vin ZOOM for the next Status

Henring on September 20, 2023, at 3:00 PAL

A. Deferant is tat d that fty cadtrol conditions include the dulles tor

6 Abldy by the orders of comnvumily conten! and aol te-ollead por ORC $ 2929.24;

® Comply with the Coun’s yeneral probstlon requirements outtleed fn OWE §
2929,95{2Ray&b) and 2929.44; nod Housing Div. Loy, B. 2.18, a copy of whieh
is ottactied to this Sentencing Judgement Entry anal Ordce, which invludes keeping
bil pmperties ound by Defendant, Incated wibin the Chy of Cleveland ond Vitlaye
of Brvtenabl in cond repair und ie compliance with tncal codes: and

© Report to and cooperate will the assigned communhty contol offices,

EFFRCT OF FAILURE TO SUNSTANTIALLY COMPLY WITH COMMUSITY
CONTROL CONDITIONS:

D. The Defendant has iter informed thar Giture to substantially comply with ihe lasued
community control gaders ond upon a fading of a violation of tie tems of community
contra, dit Court mayt

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heeyentle

Esch of the above counts of Failure to Comply is 9 finevdcare inisdemeancs, puntkthable
by a Ting of $4,000.00 tor each day Defenday failed lo coinply due to Defendant ining on
organization, up ia live yeors of community control, ond court costs. Therefore, the tata] azgresate
miximin penatiy hls Court coutd inspose 1s 9 ne of S230, five years of commenity
contol, und count costs.

fH. DEFENBANT'S COMMUNITY CONTROL SANCTIONS, SENTERCH, atal

ORBIRS:
Upon conslupratton of the pica, the Court birgosss the faldow ing os indivated below:
COUNT FINE COMAWURIETY CONTROL JAIL
i $25,000 STAYED + YEARS ACTIVE NA
2 fo NA Nia |
. 3 1 0 NiA NEA :
t 4 { 40 { WIA LNA |
| 3 f $0 | REA NA |

The sentence on alt five (5) coms of Failure to Comply slatll rtit Concinrentiy. The terns
of comunurtty control are active for three (4 years and are sel fo expire an Jaure 21, 2026,

T ORDERS Defend tn th wings
1. The nvaxinnun potential fine of $25,000 ts STAYED, provided Defendant conplies
wiih the Court's Orders,

2. Defendant's o fen case 2022-CR-OOI0IS, Visiatlon Noes AVZENI SITY
fatiached}, fs aetlve and !s alco before this Court,

3. Befeqdant & placed on active commiunily control for Ghree (4) years, s¢1 to exphre an
Jane 24, 2026,

4. Defernfant is ondecedt to pay all ongoing cours costs assaclated with this care,

5, Defendant is onlered to olttain rental reglsteation fer all properties iawns witht, the
City of Cleveland or apply for applicalte rental reg exeniplions
mud sult coples of proof of all rental registrattons or exrmpitons: 10 Housing Court
Specialist Cody prior to the neve slatus hearing date,

6. Defendant ls ordered to comply with dhe City of Cleveland's Lead Sale Ordinance by

obtalning a lead-safe certificate for all rented properties (FE aint within the City of

Choveand or apply for applleable fead-sate exempllons. Heludaal must sahmit

contes of proof of ali lead-safe certificates, receipts of future testing, oF cxemplions fo

Housing Caurt Specialist Cody prior to the next hearing dale.

Defenitant fs ordered noi to gift, sell, or transfer any of the properties owaed » fthia

the City of Cleveland while on conumunlty tontrol wilhgut (he appraval of (bts Court,

{SEE ATVACHED LIST]

Defendant Is ordered to remove the winden unlts fram ihe propecites located al §310-

1312 West 89° Street, Cleveland, OMe 44102,

Nefendant is arderedl io place any irash cans on Whe property tn the reae of the

property,

10, Defendant {s ordergd ta palnd the evierfor of bath properties, located a1 1310-5472
Wert 899 Street, Clevetand, Ohio 44182, all une colur.

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hcrsentje

. impose nore restrictive community cuntnal sanyttons under ORC § 2929.25 275 t.
wt increased « y control ler up én five yoars in total and financiak

sanelions {fines}. The maint rénhaining fila! sanction Uke Cov may
inspose upon Defendant. in this vase. ts $23,000,

tt 1

JUDGE Wo afONA- Scar
CMC HOUSING DIVISION-CRIMINAL

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Pefinition and Purpese of Community Centred zahaliank

As part of Fhe sentence in this vase, the Court is imposing ity conieyl |
CCCS,"| CCS fs a perted of supcevision by the Court ucough the Court's Commusiy Control

Officer, The Coun assigns [Fouring Cour! Spectalias Oeverly Cody as Defendant's Community

Contd Officer.

The Cour’s goals for imposing CCS (onedy known as piobaton} are sehabilitatan.
numinlstering justice und ensuring she Deteadant's future good behavine. the Court imposes each
CCS condilign becwuse the condition ts related fo cme or more of chess goats. The Court's Geacsal
Community Control Sanctions are stated in Tocat Rule 2.18 and the Appendix to Local Rute 2.18,
coptes of which org allached to this Hate.

_ Housing Covit is a renvediat court whose primary: goal 1s the defendamepmperiy ances
fo misintain their peoperties in Cleveland and Brotenaht up to mininuni code requirenrents, Fach
CCS condition that the Court imposes 1s designed 40 move this goal.

Some CCS requirements ace mainly related 10 odeoinistering justice. Wiese ove sanctions
fos the crietinal vonduet a1 issue ie the case, Exonaptes are lacs, court worl, service. house arrest,
and jail.

Otter CCS sequirements an: primarily rete to rehabilitatiag the offtader. Sone
examples Include: repocting to the Commeniiy Contra) Onleen attending o Jandlond class
preseitted by the Court, providing a Vist of alf real Property that the Defendant owns a contngls,
drafling a writen maintenance plan for alt properties owned in Cleveland and Dratensht, ond
keeping those propenies in good repalr, depaxiting escamw funds For boant-up and demotition
suuts, consenting to inspeettons for pripertics by Court sepreseatatlves or Cy inspectors. and
emtecing inte payrmcal plana for hoard-up. densolition. grass cutelng, water charges, and delinquent
property faxes. Withaul maintenance and payment plans, Defendant aay Become overwhelmed
by financial obligations relates to ging Defendant's p This may toad ta Yeleseed
maintenance, code viglatiuns, new sivlation natives, and criminal charges,

Finally, same CCS requirements ont intended to deter future criminal comboct anal charges.
Exnniptes of these are requiring Defvadant to register residential rental unlis with the Cleveland
Building Department, demanding Defendant to obtain o cenlificate of disclosuce for eedaln real
property Wonsfers, ond cequirlny business catilics that are detendants to register wish the Ohio
Sovietary of State.

These pre standard CCS requ fa Housing Count, When the Coun imposes these
conditons or others. it is because the Court has delennined that thase CCS conditions are ngs
Rely to resoive the undeclying ctintinal changes aad keep the Defendant's Properties In Cleveland
ond Brotenahl in good repalr.

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CLEVELAND HOUSING COURT LOCAL RULE 2.18 AND APPENDIX

RULE 218 GENERAL COMMUNITY CONTROL SANCTIONS
(Also called GENERAL PROBATION REQUIREMENTS)

A. The Coun may sentence an offender ta any ¢ ity contral sancth herized
by ORC $2929.25, the requirements af which are commonly known as prohyton requirceitents for
inisdemeanars.

Bg The Court has established certain ¢ ity control sia apply tr erinitnat
cases in the Housing Court. These sanctions shall be called the ‘General Comunity Control
Sanctions” of “Gensial Probatiun Requicements” of the Houtlig Division of the Clevelend
Manictpad Court and ore outlined inthe Appeadts to these Local Rules.

The Coud may modity the Generat Peohation Requirements in a specile case or
nay impose on an offender specific community vontrol sanctions {also called specific probation
tequinntentst in addiilon to the General Peohation Requirements,

D. — Publicatlon of these Gencrat Peybatlon Requirements in these Rules serves to notity
defendants chereed tn criminal cases of the commuaty contol sanctions that the Court may
inipose,

5 W the Court, alter nntice and hearing, determines dat u defendant has violated
Conmuaiiy Conrot Saaciiuns, the Cour may extend the peeiot al Conmualty Contra], impose
edditional Community Control Sanctions. execule upon any porlen of the Defeadont’s sentence
préviously sutpended, or re-sentence the Befendant on the original charges upon which the
Defendant was convicied.

APPENDIX TO HOUSING COURT LOCAL RULE 2.18 - GENERAL COMMUNITY
CONTROL SANCTIONS

Appendis to Housing Cour Local Rute 2,08 - General Conmmuntty Contral Sanctions (also called
Genceat HHrobatlon Regulrentents} of the Houstoy Divistoa af hee Clevehind Municipal Cow

t Pus intent of Fines, The offender mast pay bythe tine to pay (CFP } date any portion af the
fine that tbe Court has ordered exccured,

2» Reportheg. The oVender aust mport as cndersd to a Conununity Conteal GMeer (COO) it
the Court assigns one.

3 Offender to Veovlde w Lt of Properties. The offendce niust pravile the Court with a fst
of oll real propedy the ofender owns ar enntiods, Untess the Cort orders otheaw|se, dhe
Hist shall Include all property, whether i 3s located dn Cleveland, Obio. of elsenhere od
shall include the offender's residence, The Cour may opder that the [si of properties be in

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4. Afiled copy of the Court's Judginent Entry and Order was seat by email to: Defense
Attorney Jeffrey Sheehan nt wmjshechan@msn.com on dune S .2023.

2. A filed copy af the Court's Judgment Entry and Order was sent by email to:
Defendant, SL. Anthony's Church ¢/o Defendant Representative Athort Thrower at
yo. an Jone Ls O23.

4. A filed copy of the Court's dudgnient Entry and Order was sont by emall ta: Chief
Cage Enforcement Prosecuting Allorney' David Roberts c/oProsecuting Attorney
Ashley Hawkinsat 06 00 fee cata ondune € Ps , 2095.

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a yaaticulae Form oF contain specilte infosmadon about ihe properties. The offender mtvst
Hothty the Court wheaas er the afiender has any change in the papery owned or contrabed.

Offender to Keep Praperttes In Good Repate. The offender must keep all the offenders
properties a good repaly, Fhe delinition of keeping propertics in good repair includes the
obligation to regularly inspeel and niaintain the property ond keep each propery clean of
Ucbris, secure from catry, and free of uratlili. This requirement is in addition fo conipilance
with any city or state code requireotents far eal property.

Olfender to Abide by All Laws, The atlendes must sbide by aif lows. wich is a
Tequircnend under Ohio law for alt probation. Abiding by afl laws includes abiding by alf
sity code requirements,

Offender to Vislt oad Taspert Yeoperdies. The effendec aust regularly visit oad inspect
cach af the offender's propertics, The Coun nay set a regular schedule of visi and cequize
the offemter to take phoipgraphs during cack visit.

Consent (oe Entry and Inspection, The offender aust peemil any Court representative oz
Clty or State Inspector (o Inspect any of the offender's properties a such tems a5ahe Court
mtay order.

Travel Permitted, Under Ohio law, al! probation requites thal the offender dots not leave
ihe state wihoue the court's permission, Ag part of ilese Geaeeal Probstion fhequimments,

the Court grants the offender permission to leave the stale without equesiiog perilssion
In each case oftravel.

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